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                   UNITED	  STATES	  DISTRICT	  COURT	  FOR	  THE	  DISTRICT	  OF	  MARYLAND	  
                                             BALTIMORE	  DIVISION	  
	  
PEOPLE	  FOR	  THE	  ETHICAL	  
TREATMENT	  OF	  ANIMALS,	  INC.,	  et	  al.	  
	  
	      	       	        	        	            	            CASE	  NO.	  1:17-­‐cv-­‐02148-­‐MJG	  
v.	  
	  
TRI-­‐STATE	  ZOOLOGICAL	  PARK	  
OF	  WESTERN	  MARYLAND,	  INC.	  
	  
_________________________________________________________________________________________________	  
	  
                                MOTION	  TO	  DISMISS	  PURSUANT	  TO	  FEDERAL	  	  
                          RULES	  OF	  CIVIL	  PROCEDURE	  12(b)(1)	  and	  12(b)(6)	  
	  
	      1.	     For	  the	  reasons	  set	  forth	  in	  the	  attached	  Memorandu,	  the	  Plaintiffs	  complaint	  

fails	  to	  state	  a	  claim	  upon	  which	  relief	  may	  be	  granted,	  and	  fails	  to	  establish	  that	  the	  present	  

controversy	  is	  justiciable	  by	  this	  Court.	  	  

           WHEREFORE, the Defendants pray:

           A.          That the Plaintiffs’ Complaint be dismissed with prejudice it its entirety.

           B.          That the Court award to the Defendants reasonable attorneys’ fees pursuant to

16 USC 1540(g) et seq.

           C.          For whatever other relief is merited by the justice of the cause.	  

	  
	         	          	         	          	         	          	             Respectfully	  Submitted,	  
	  
	  
	         	          	         	          	         	          	             s/Nevin	  L.	  Young	  
	         	          	         	          	         	          	             _____________________________________	  
	         	          	         	          	         	          	             Nevin	  L.	  Young	  
	         	          	         	          	         	          	             Maryland	  Fed	  Bar.	  ID	  No.	  28604	  
	         	          	         	          	         	          	             170	  West	  Street	  
	         	          	         	          	         	          	             Annapolis,	  Maryland	  21401	  
	         	          	         	          	         	          	             (t)	  410-­‐353-­‐9210	  


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	        	         	        	         	         	        	             (f)	  410-­‐510-­‐1208	  
	        	         	        	         	         	        	             nyoung@burlingtonyounglaw.com	  
	        	  
                                                 CERTIFICATE	  OF	  SERVICE	  

	         I	  hereby	  certify	  that	  on	  this	  12th	  day	  of	  September,	  2017,	  a	  copy	  of	  the	  foregoing	  
was	  served	  via	  the	  Court’s	  ECF	  filing	  system,	  or,	  if	  such	  system	  was	  not	  available,	  by	  
both	  first	  class	  mail,	  postage	  prepaid,	  and	  by	  direct	  email,	  to:	  
	  
Conor	  O’Croinon,	  Esquire	  
Zuckerman	  Spaeder	  LLP	  
100	  East	  Pratt	  Street	  
Suite	  2440	  
Baltimore,	  Maryland	  21202	  
	  
Marcos	  E.	  Hasbun,	  Esquire	  
Justin	  Cochran,	  Esquire	  
Zuckerman	  Spaeder,	  LLP	  
101	  E.	  Kennedy	  Blvd.	  
Suite	  1200	  
Tampa,	  Florida	  33602	  
	         	        	        	        	           	           s/Nevin	  Young	  
	         	        	        	        	           	           ____________________________________	  
	         	        	        	        	           	           Nevin	  L.	  Young	  
	         	        	        	        	           	           Maryland	  Fed.	  Bar	  ID	  No.	  28604	  




	                                                                    2	  
